USCA11 Case: 23-12160   Document: 26   Date Filed: 10/11/2023   Page: 1 of 17




                                 In the
                United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                              No. 23-12160
                         ____________________

       HM FLORIDA-ORL, LLC,
                                                   Plaintiﬀ-Appellee,
       versus
       GOVERNOR OF FLORIDA, et al.,


                                                        Defendants,


       SECRETARY OF THE FLORIDA DEPARTMENT OF BUSINESS
       AND PROFESSIONAL REGULATION,


                                               Defendant-Appellant.
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023     Page: 2 of 17




       23-12160                Order of the Court                           2




                            ____________________

                  Appeal from the United States District Court
                       for the Middle District of Florida
                   D.C. Docket No. 6:23-cv-00950-GAP-LHP
                           ____________________

       Before JORDAN, ROSENBAUM, and BRASHER, Circuit Judges.
       BY THE COURT:
              For the reasons which follow, the motion for a partial stay
       of the district court’s preliminary injunction is denied.
                                         I
              HM Florida operates a restaurant in Orlando. It frequently
       presents drag show performances, comedy sketches, and dancing,
       including so-called “family friendly” drag performances on Sundays
       where children are invited to attend.
              Invoking 42 U.S.C. § 1983, HM Florida sued Melanie Griffin,
       the Secretary of the Department of Business and Professional Reg-
       ulation of the State of Florida, in her official capacity to challenge
       the constitutionality of Fla. Stat. § 827.11. This statute prohibits
USCA11 Case: 23-12160         Document: 26        Date Filed: 10/11/2023          Page: 3 of 17




       23-12160                   Order of the Court                                 3

       any person from knowingly admitting a child to an “adult live
       performance.” 1
               The district court granted HM’s motion for a preliminary
       injunction, ruling in part that HM had shown a substantial
       likelihood of success on the merits. The district court ruled that §
       827.11 is likely overbroad (and therefore likely unconstitutional)
       under the First Amendment because “lewd conduct” and “lewd
       exposure of prosthetic or imitation genitals or breasts” are not
       defined in the statute. See D.E. 30 at 20-24. The preliminary
       injunction issued by the district court prohibited Secretary Griffin
       from enforcing § 827.11. See D.E. 30 at 25 (“Melanie Griffin, in her
       official capacity as Secretary of the Florida Department of Business

       1 The statute defines “adult live performance” as:

              Any show, exhibition, or other presentation in front of a live
              audience which, in whole or in part, depicts or simulates
              nudity, sexual conduct, sexual excitement, or specific sexual
              activities as those terms are defined in s. 827.001, lewd
              conduct, or the lewd exposure of prosthetic or imitation
              genitals or breasts when it:
                 1. Predominantly appeals to a prurient, shameful, or
              morbid interest;
                   2. Is patently offensive to prevailing standards in the
              adult community of this state as a whole with respect to what
              is suitable material or conduct for the age of the child present;
              and
                  3. Taken as a whole, is without serious literary, artistic,
              political, or scientific value for the age of the child present.
USCA11 Case: 23-12160         Document: 26         Date Filed: 10/11/2023         Page: 4 of 17




       23-12160                    Order of the Court                                 4

       and Professional Regulation, is hereby ENJOINED from
       instituting,  maintaining, or prosecuting any enforcement
       proceedings under the Act[.]”).2
              Secretary Griffin asked the district court for a partial stay of
       the preliminaty injunction so that she could enforce § 827.11
       against everyone but HM. The district court denied the motion for
       a partial stay, explaining that it had concluded that § 827.11 was
       likely overbroad, and therefore likely to be unconstitutional on its
       face. The district court also explained that, where overbreadth is
       the constitutional problem, a preliminary injunction prohibiting all
       enforcement of the statute is appropriate. See D.E. 41 at 4-8.
              After appealing the district court’s preliminary injunction,
       Secretary Griffin has moved for a partial stay of the injunction.
       She argues that we should stay the preliminary injunction in part
       to allow her to enforce § 827.11 as to all parties except HM. Not
       surprisingly, HM opposes the motion.
                                              II
               In reviewing Secretary Griffin’s motion for a partial stay of
       the preliminary injunction, “we consider the following factors: “(1)
       whether the stay applicant has made a strong showing that it is
       likely to succeed on the merits, (2) whether the applicant will be


       2By its terms, the preliminary injunction did not purport to run against non-

       parties. See generally Stuart Buck & Mark L. Rienzi, Federal Courts, Overbreadth,
       and Vagueness: Guiding Principles for Constitutional Challenges to Uninterpreted
       State Statutes, 2002 Utah L. Rev. 381, 441-46 (2002).
USCA11 Case: 23-12160       Document: 26        Date Filed: 10/11/2023      Page: 5 of 17




       23-12160                  Order of the Court                             5

       irreparably injured absent a stay, (3) whether the issuance of the
       stay will substantially injure the other parties interested in the pro-
       ceeding, and (4) where the public interest lies. The first two factors
       are the most critical. It is not enough that the chance of success on
       the merits be better than negligible. ... By the same token, simply
       showing some possibility of irreparable injury ... fails to satisfy the
       second factor.” Robinson v. Atty. General of Alabama, 957 F.3d 1171,
       1176-77 (11th Cir. 2020) (internal quotation marks and citation
       omitted).
               The district court, in granting a preliminary injunction and
       denying the motion for a partial stay, did not definitively rule on
       the merits of the case. Today, we likewise do not conclusively re-
       solve the merits of Secretary Griffin’s appeal. A preliminary injunc-
       tion is reviewed under the deferential abuse of discretion stand-
       ard, see Benisek v. Lamone, 138 S.Ct. 1942, 1943 (2018), so the narrow
       question for us is whether Secretary Griffin has made a strong
       showing that the district court abused its discretion with respect to
       the scope of the preliminary injunction.
                                            III
               Secretary Griffin asserts that, pending resolution of her ap-
       peal, she should be allowed to enforce § 827.11 as to everyone but
       HM. Citing cases criticizing the issuance of universal/nationwide
       injunctions, see, e.g., Georgia v. President of the United States, 46 F.4th
       1283, 1306-07 (11th Cir. 2022) (majority opinion) (“reviewing
       courts should . . . be skeptical of [universal] injunctions premised
       on the need to protect nonparties”), she argues that the district
USCA11 Case: 23-12160       Document: 26      Date Filed: 10/11/2023     Page: 6 of 17




       23-12160                 Order of the Court                           6

       court could only award injunctive relief vis-à-vis HM and could not
       prevent enforcement of § 827.11 against other persons or entities.
               As noted, the district court concluded that HM established a
       substantial likelihood of prevailing on its claim that § 827.11 is over-
       broad in violation of the First Amendment. And for purposes of
       her motion for partial stay, Secretary Griffin does not take issue
       with the merits of the district court’s overbreadth ruling. The ques-
       tion, then, is whether Secretary Griffin has made a strong showing
       that the district court abused its discretion in issuing a preliminary
       injunction that prohibited her from enforcing § 827.11—which is
       likely overbroad and unconstitutional—against anyone.
               Secretary Griffin also cites to Doran v. Salem Inn, Inc., 422
       U.S. 922, 931 (1975), where the Supreme Court said that “neither
       declaratory nor injunctive relief can directly interfere with enforce-
       ment of contested statutes or ordinances except with respect to the
       particular federal plaintiffs, and the State is free to prosecute others
       who may violate the statute.” And she argues that in some First
       Amendment cases the Supreme Court has limited injunctive relief
       to the parties before it or just reversed the particular defendant’s
       conviction. See, e.g., United States v. Nat’l Treasury Employees Union,
       513 U.S. 454, 477 (1995); Thornhill v. Alabama, 310 U.S. 88, 91 (1940).
       Accord Richard H. Fallon, Jr., Making Sense of Overbreadth, 100 Yale
       L. J. 853, 853-54 (1991) (citing Doran for the proposition that when
       “a lower federal court pronounces a state statute void for over-
       breadth,” the “binding effect of the federal judgment extends no
       further than the parties to the lawsuit,” and asserting that “[a]gainst
       nonparties, the state remains free to lodge criminal prosecutions”).
USCA11 Case: 23-12160       Document: 26      Date Filed: 10/11/2023     Page: 7 of 17




       23-12160                 Order of the Court                           7

              As a general matter, injunctions should be “limited in scope
       to the extent necessary to protect the interests of the parties.” Gar-
       rido v. Dudek, 731 F.3d 1152, 1159 (11th Cir. 2013). The First
       Amendment doctrine of overbreadth, however, is meant to “vindi-
       cate the rights of others not before the court.” CAMP Legal Defense
       Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1271 (11th Cir. 2006). As
       a result, it “operates as an exception to the normal rules of stand-
       ing.” Regan v. Time, 468 U.S. 641, 651 n.8 (1984).
              The problem for Secretary Griffin is that statutes which are
       unconstitutionally overbroad are “properly subject to facial at-
       tack.” Secretary of State of Md. v. Joseph H. Munro, Inc., 467 U.S. 947,
       968 (1984) (rejecting argument that state statute found to be over-
       broad should not “str[uck] down on its face”). As a result, a suc-
       cessful overbreadth challenge “suffices to invalidate all enforce-
       ment of th[e] law ‘until and unless a limiting construction or partial
       invalidation so narrows it as to remove the threat or deterrence to
       constitutionally protected expression.’” Virginia v. Hicks, 539 U.S.
       113, 119 (2003) (emphasis in original) (quoting Broadrick v. Okla-
       homa, 413 U.S. 601, 613 (1973)). The Supreme Court has “provided
       this expansive remedy out of concern that the threat of enforce-
       ment of an overbroad law may deter or ‘chill’ constitutionally pro-
       tected speech—specially when the overbroad statute imposes crim-
       inal sanctions.” Id. “Overbreadth adjudication, by suspending all
       enforcement of an overinclusive law, reduces the[ ] social costs
       caused by the withholding of protected speech.” Id. (emphasis in
       original).
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023     Page: 8 of 17




       23-12160                Order of the Court                          8

              Take Ashcroft v. ACLU, 542 U.S. 656 (2004), which involved
       First Amendment challenges to a federal law, the Child Online Pro-
       tection Act. The district court concluded that the plaintiﬀs were
       likely to succeed on their claims that the Act violated the First
       Amendment and issued a preliminary injunction prohibiting the
       Attorney General from enforcing or prosecuting matters under the
       Act. See ACLU v. Reno, 266 F.Supp.2d 473, 498-99 (E.D. Pa. 1999).
       The district court speciﬁcally rejected the government’s argument
       that the preliminary injunction should be limited to the plaintiﬀs
       who had ﬁled suit, explaining that the Attorney General had “pre-
       sented no binding authority or persuasive reason that [it] should
       not enjoin total enforcement of [the Act].” Id. at 499 n.8. On re-
       mand from the Supreme Court, the Third Circuit upheld the issu-
       ance of the preliminary injunction, and ruled in part that the plain-
       tiﬀs were likely to prevail on their claim that the Act was overbroad
       in violation of the First Amendment. See ACLU v. Ashcroft, 322 F.3d
       240, 266-71 (3d Cir. 2003).
              When the case came before it again, the Supreme Court af-
       ﬁrmed. Without addressing the overbreadth claim, the Court held
       that the district court and the Third Circuit had properly concluded
       that the plaintiﬀs were likely to prevail on their claims that the Act
       violated the First Amendment, and then upheld the issuance of the
       preliminary injunction—which prohibited enforcement and prose-
       cution altogether—with these words: “There are also important
       practical reasons to let the injunction stand pending a full trial on
       the merits. First, the potential harms from reversing the injunction
       outweigh those of leaving it in place by mistake. Where a
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023      Page: 9 of 17




       23-12160                 Order of the Court                          9

       prosecution is a likely possibility, yet only an aﬃrmative defense is
       available, speakers may self-censor rather than risk the perils of
       trial. There is a potential for extraordinary harm and a serious chill
       upon protected speech. The harm done from letting the injunc-
       tion stand pending a trial on the merits, in contrast, will not be ex-
       tensive. No prosecutions have yet been undertaken under the law,
       so none will be disrupted if the injunction stands. Further, if the
       injunction is upheld, the Government in the interim can enforce
       obscenity laws already on the books.” Ashcroft, 542 U.S. at 670-71
       (citation omitted).
               Our cases also support the scope of the district court’s pre-
       liminary injunction. In FF Cosmetics Fl, Inc. v. City of Miami Beach,
       126 F.Supp.3d 1316, 1332, 1334 (S.D. Fla. 2015), the district court
       ruled in part that the plaintiffs were likely to succeed on their claim
       that a city anti-handbilling ordinance prohibited “far more than
       commercial speech” and was overbroad and unconstitutional un-
       der the First Amendment. The district court then issued a prelim-
       inary injunction prohibiting the city from enforcing the anti-hand-
       billing ordinance altogether. See id. at 1336. On appeal, we af-
       firmed the district court’s ruling on the overbreadth claim and up-
       held the preliminary injunction. See FF Cosmetics Fl, Inc. v. City of
       Miami Beach, 866 F.3d 1290, 1303-04 (11th Cir. 2017) (relying on
       Broadrick and explaining that enforcement of the overbroad ordi-
       nance was “totally forbidden” until it was judicially narrowed or
       partially invalidated because “of a judicial prediction or assumption
       that the statute’s very existence may cause others not before the
USCA11 Case: 23-12160     Document: 26      Date Filed: 10/11/2023     Page: 10 of 17




       23-12160                Order of the Court                         10

       court to refrain from constitutionally protected speech or expres-
       sion”).
               FF Cosmetics is not an outlier in our circuit. In other cases
       where a law has been found to be overbroad in violation of the First
       Amendment, we have affirmed injunctions preventing enforce-
       ment of a law or ordinance against nonparties as well as parties.
       See, e.g., KH Outdoor, LLC v. City of Trussville, 458 F.3d 1262, 1273
       (2006) (permanent injunction: “Quite simply, the district court did
       not abuse its discretion by enjoining the enforcement of section 1.0
       of the [billboard] ordinance.”); Clean Up ’84 v. Heinrich, 759 F.2d
       1511, 1512–1514 (11th Cir. 1985) (affirming a district court’s ruling
       that a Florida statute prohibiting the solicitation of signatures on
       petitions within 100 yards of a polling place was facially overbroad
       and affirming a preliminary injunction prohibiting enforcement of
       the statute).
               To recap, the district court concluded that § 827.11 was
       likely overbroad and unconstitutional under the First Amendment,
       and Secretary Griffin does not take issue with that ruling in her mo-
       tion for a partial stay. Given Supreme Court cases like Ashcroft and
       Eleventh Circuit cases like FF Cosmetics—which have affirmed pre-
       liminary injunctions barring enforcement of a statute or ordinance
       which is likely overbroad—Secretary Griffin has not made a sub-
       stantial showing that the district court erred in crafting the prelim-
       inary injunction to prohibit her from enforcing § 827.11.
              In his dissent, our colleague asserts that we should grant the
       partial stay because a federal court cannot unnecessarily extend an
USCA11 Case: 23-12160     Document: 26       Date Filed: 10/11/2023     Page: 11 of 17




       23-12160                Order of the Court                         11

       injunction to nonparties when an individual plaintiff’s injury can be
       completely redressed by party-specific relief. He cites to Supreme
       Court cases like Doran and National Treasury Employees Union and to
       our decision in Georgia. We recognize that these cases provide
       some support for a partial stay, but they are not the only authorities
       on point, and given the division of authority in both the Supreme
       Court and in this circuit we cannot say that the district court abused
       its discretion. When the governing law is divided or unclear, it is
       difficult to say that a district court has committed a “clear error of
       judgment,” Emergency Recovery, Inc. v. Hufnagle, 77 F. 4th 1317, 1324
       (11th Cir. 2023), in choosing one line of authority over another.
                                        IV
             Secretary Griffin’s motion for a partial stay is denied.
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023      Page: 12 of 17




       23-12160               BRASHER, J., Dissenting                        1

       BRASHER, Circuit Judge, dissenting from the order denying the
       motion for a partial stay:
               I would grant the motion for a partial stay pending appeal.
       The district court issued a universal injunction prohibiting the en-
       forcement of a state criminal law against anyone and everyone,
       even though the plaintiff HM Florida-ORL, LLC’s asserted injury
       would be remedied by an injunction protecting only HM from
       prosecution. Although we have granted partial stays in comparable
       cases when a district court has gone too far in enjoining the en-
       forcement of a state law, see Garcia v. Executive Director, Florida Com-
       mission on Ethics, No. 23-10872 (11th Cir. June 5, 2023), the majority
       fails to stay the overbroad injunction in this case. Because this re-
       sult is contrary to our precedents, I respectfully dissent.
               The appellant’s motion raises the following question: Can a
       district court unnecessarily extend an injunction to nonparties
       when an individual plaintiff’s injury can be completely redressed
       by party-specific relief? The answer under our precedents is an em-
       phatic “no.” See Georgia v. President of the United States, 46 F.4th
       1283, 1303–08 (11th Cir. 2022). Because the federal courts may re-
       solve only concrete cases or controversies, we are limited to “vin-
       dicat[ing] the individual rights of the people appearing before” us.
       Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018). That means “remedies
       should be limited to the inadequacy that produced the injury in fact
       that the plaintiff has established, and no more burdensome to the
       defendant than necessary to provide complete relief to the
USCA11 Case: 23-12160      Document: 26       Date Filed: 10/11/2023      Page: 13 of 17




       23-12160                BRASHER, J., Dissenting                        2

       plaintiffs.” Georgia, 46 F.4th at 1303 (internal quotation marks and
       citations omitted).
              These principles are nonnegotiable in every case, but they
       are especially salient when we are enjoining a government officer
       from enforcing a law. See Doran v. Salem Inn, Inc., 422 U.S. 922, 931
       (1975); see also Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018)
       (“[T]he inability to enforce its duly enacted [laws] clearly inflicts
       irreparable harm on the State.”). We have held that a universal in-
       junction against the enforcement of a law is justified only if “an in-
       junction limited in scope” would not “provide complete relief to
       the plaintiffs.” Georgia, 46 F.4th at 1303–04 (citation omitted); see id.
       at 1308.
               The majority makes no attempt to explain why the district
       court needed to enjoin the enforcement of the challenged law
       against nonparties to provide complete relief to HM. That’s be-
       cause it didn’t. HM runs a restaurant and nightclub in Orlando.
       HM’s injury is the fear of being prosecuted for violating Florida
       Statutes section 827.11. A preliminary injunction prohibiting state
       officials from enforcing that law against HM and anyone acting in
       concert with HM would completely remedy HM’s injury. See Fed.
       R. Civ. P. 65(d). Nothing more is necessary or appropriate. Under
       our precedents, that’s the end of the matter, and the motion for a
       partial stay should be granted.
              The majority says that we don’t need to follow these estab-
       lished principles because HM brought a First Amendment over-
       breadth challenge to this statute instead of some other kind of claim.
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023      Page: 14 of 17




       23-12160               BRASHER, J., Dissenting                        3

       But I don’t see how the nature of HM’s claim moves the needle. A
       district court can’t enter an overbroad injunction just because it’s
       dealing with an overbroad statute.
               To hold otherwise, the majority conflates the merits of a le-
       gal claim with the scope of the remedy for that claim. The First
       Amendment overbreadth doctrine is relevant to the former, but
       not the latter. That is, the doctrine recognizes that a state law may
       be unconstitutional because of how it applies to most people, even
       if there is no problem with the statute as it applies to the plaintiff’s
       unique circumstances. See Broadrick v. Oklahoma, 413 U.S. 601, 611–
       12 (1973). But a plaintiff with a successful overbreadth claim gets
       the same relief as a plaintiff with any other successful claim—a rem-
       edy that is “no more burdensome to the defendant than necessary
       to provide complete relief.” Georgia, 46 F.4th at 1303; see also Rich-
       ard H. Fallon, Jr., Making Sense of Overbreadth, 100 Yale L.J. 853, 853-
       54 (1991).
               The Supreme Court made this same point in United States v.
       National Treasury Employees Union, 513 U.S. 454 (1995). After con-
       cluding that a statute violated the First Amendment rights of cer-
       tain government employees, the district court issued an injunction
       that banned the enforcement of the statute against all the employ-
       ees in “the entire Executive Branch of the Government.” Id. at 477.
       The Supreme Court held that the district court had erred and mod-
       ified the injunction, narrowing it to cover only the plaintiffs in the
       case. Id. at 477–78. The Supreme Court explained that “although
       the occasional case requires us to entertain a facial challenge in
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023     Page: 15 of 17




       23-12160               BRASHER, J., Dissenting                       4

       order to vindicate a party’s right not to be bound by an unconstitu-
       tional statute, we neither want nor need to provide relief to non-
       parties when a narrower remedy will fully protect the litigants.” Id.
       (internal citations omitted).
                The majority refuses to follow the Supreme Court’s decision
       in National Treasury Employees Union or our decision in Georgia. In-
       stead, the majority relies on a handful of cases in which no one
       challenged the extra-party scope of the injunction at issue. These
       cases contribute to what we have disapprovingly identified as “sev-
       eral decades of tacit acquiescence in universal . . . remedies.” Geor-
       gia, 46 F.4th at 1306; see also Rodgers v. Bryant, 942 F.3d 451, 467–68
       (8th Cir. 2019) (Stras, J., concurring in part and dissenting in part).
       But they are neither binding nor persuasive. It has long been the
       law that questions that “merely lurk in the record, neither brought
       to the attention of the court nor ruled upon, are not to be consid-
       ered as having been so decided as to constitute precedents.” Web-
       ster v. Fall, 266 U.S. 507, 511 (1925).
              For example, the majority says that Ashcroft v. ACLU, 542
       U.S. 656, 670–71 (2004), supports its position. But, just as in the
       other cases cited by the majority, the government did not challenge
       the injunction in Ashcroft on the grounds that it extended to non-
       parties, and the Supreme Court did not address that question. The
       Supreme Court instead considered whether the plaintiffs had estab-
       lished a likelihood of success on the merits such that any prelimi-
       nary injunction should have been entered at all. 542 U.S. at 664–70.
       That is, the question presented in Ashcroft was “[w]hether the Child
USCA11 Case: 23-12160      Document: 26      Date Filed: 10/11/2023      Page: 16 of 17




       23-12160               BRASHER, J., Dissenting                        5

       Online Protection Act violates the First Amendment to the United
       States Constitution.” See Br. for Pet’rs, Ashcroft v. ACLU, 542 U.S.
       656 (2004) (No. 03-218), 2003 WL 22970843. “Nowhere did the Su-
       preme Court [in Ashcroft] address the scope of the injunction, much
       less decide that universal preliminary injunctions are appropriate
       whenever a facial challenge is likely to succeed.” Rodgers, 942 F.3d
       at 468 n.11 (Stras, J., concurring in part and dissenting in part) (cit-
       ing Ashcroft, 542 U.S. at 670–71).
               But even if Ashcroft implicitly approved a nonparty injunc-
       tion in that case, it wouldn’t support the majority’s position that a
       nonparty injunction could be appropriate here. In Ashcroft, a dozen
       plaintiffs—including membership organizations like the ACLU and
       mass media organizations like the Salon Media Group, Inc—sued
       to enjoin the operation of a law that regulated content on the in-
       ternet. See Br. for Respondents, Ashcroft v. ACLU, 542 U.S. 656
       (2004) (No. 03-218), 2004 WL 103831, at *2, *5 n.2; see also Ashcroft,
       542 U.S. at 663. Given the nature of that law and those plaintiffs,
       it’s easy to see how a district court could reasonably believe a broad
       injunction would be necessary to provide complete relief—an in-
       junction directed only to the ACLU’s thousands of members and
       Salon.com’s millions of online readers would not even be admin-
       istrable. But see Georgia, 46 F.4th at 1307 (casting doubt on whether
       such considerations justify nonparty relief). Here, however, we
       have a single plaintiff that operates a single brick-and-mortar res-
       taurant in a single city. An injunction addressed to everyone in Mi-
       ami, Tallahassee, Jacksonville, Tampa, and everywhere else in
       Florida provides no benefit to that plaintiff and solves no
USCA11 Case: 23-12160     Document: 26      Date Filed: 10/11/2023    Page: 17 of 17




       23-12160              BRASHER, J., Dissenting                      6

       administrability concern, but it nonetheless imposes significant
       burdens on the defendant.
              In short, this motion requires us to determine what relief is
       necessary to remedy HM’s injury. The majority doesn’t even ask
       that question, much less give the right answer. Because HM’s in-
       jury would be remedied by an injunction prohibiting enforcement
       of Florida Statutes section 827.11 against HM, I respectfully dissent
       from the majority’s decision to deny the motion for a partial stay.
